Case 2:03-Cv-02932-.]PI\/|-tmp Document 59 Filed 08/03/05 Page 1 of 2 Page|D 77

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Plaintiffs , \‘»/D C-F vt t\,tEMPH|S
v' No. 03-2932-141/1=

NICOLAS CAR.`RANZA,

Defendant.

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ORDER OF REFERENCE

 

Before the Court is Plaintiffs’ Motion to Compel Deposition
Testimony of Dr. J. Michael Waller, filed August 2, 2005. This
matter is referred to the United States Magistrate Judge for
determination. Any exceptions to the magistrate judge’s order
shall be made within ten (10) days of the magistrate judge’s
order, setting forth particularly those portions of the order

excepted to and the reasons for the exceptions.

IT IS SO ORDERED this él day of August, 2005.

am &Qt

JO P. MCCALLA
ITED STATES DISTRICT JUDGE

 

Thts document entered on the docket sheet ln compliance
with Ftute 56 and/or 79{a) FRCP on

 

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Honcrable Jon McCalla
US DISTRICT COURT

